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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                  Houston Division

UNITED STATES OF AMERICA ex rel.                     '
RICHARD DRUMMOND,                                    '
                                                     '
       Plaintiffs,                                   '         Civil Action No. H-08-2441
v.                                                   '
                                                     '
BESTCARE LABORATORY SERVICES, LLC                    '
and KARIM A. MAGHAREH,                               '
                                                     '
       Defendants.                                   '


                            NOTICE OF CHANGE OF ADDRESS


       Please be advised that undersigned counsel for Relator Richard Drummond is, effective

immediately, relocating his office to the following address:

                                    Kreindler & Associates
                                7676 Hillmont Street, Suite 240A
                                  Houston, Texas 77040-6478

Counsel’s other contact information remains unchanged.


                                                     Respectfully submitted,

                                                     /s/Mitch Kreindler
                                                     Mitchell R. Kreindler
                                                     Texas Bar No. 24033518
                                                     S.D. Tex. Bar No. 32980
                                                     KREINDLER & ASSOCIATES
                                                     7676 Hillmont Street, Suite 240A
                                                     Houston, Texas 77040-6478
                                                     713.647.8888
                                                     Fax: 713.647.8889
                                                     mkreindler@blowthewhistle.com

                                                     ATTORNEY FOR QUI TAM
                                                     RELATOR RICHARD DRUMMOND


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                                CERTIFICATE OF SERVICE


       I certify that on November 8, 2017, a copy of the foregoing Notice of Change of Address

was filed electronically and service was accomplished automatically to all counsel of record

through the Notice of Electronic Filing (NEF) issued by the district court’s Electronic Case

Filing (ECF) System.


                                             /s/ Mitch Kreindler
                                             Mitchell R. Kreindler




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